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10
                               UNITED STATES DISTRICT COURT
11                           NORTHERN DISTRICT OF CALIFORNIA

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      JOHN HUEBNER and IRMIN LANGTON, on                 Case No. 3:14-cv-04735-VC
13    behalf of themselves and other similarly situated,
                                                         [Assigned to the Honorable Vince
14       Plaintiffs,                                     Chhabria]

15    vs.                                               [PROPOSED] ORDER ON
                                                        EMERGENCY MOTION FOR
16    RADARIS, LLC, a Massachusetts limited             RELIEF FROM DEFAULT
      liability company;                                JUDGMENT
17    RADARIS AMERICA, INC., a Delaware
      corporation; and
18    EDGAR LOPIN, an individual,

19          Defendants.

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     [Proposed] Order on Emergency Motion for Relief from Default Judgment – 3:14-cv-04735-VC
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 1
                           [PROPOSED] ORDER ON EMERGENCY MOTION
 2                            FOR RELIEF FROM DEFAULT JUDGMENT

 3            Non-Party Movants Accuracy Consulting Ltd. and Bitseller Expert Limited’s Emergency

 4   Motion for Relief from Default Judgment is GRANTED. This Court has reviewed the papers

 5   submitted and arguments provided in support of the Motion and finds that Plaintiffs have named

 6   the wrong parties in this lawsuit and have failed to name or serve the interested parties in the

 7   domain name radaris.com and the website at radaris.com. Accordingly, the due process rights of

 8   Accuracy Consulting Ltd. and Bitseller Expert Limited (“Movants”) have been violated.

 9   Accordingly, the Court orders as follows, without prejudice to further relief to Movants:

10            1.       This Court’s previous Order Granting Motion for Default Judgment (Docket No.

11   52) is reversed and vacated as it applies to Movants and the radaris.com website and domain

12   name. Without limiting the foregoing:

13            2.       All banks, savings and loan associations, payment processors or other financial

14   institutions, payment providers, third-party payment processors, including but not limited to

15   Bank of America, Wells Fargo, Citibank, JP Morgan Chase, American Express, Capital One,

16   PayPal, Discover and all advertising service providers of Movants (including but not limited to

17   Google, Apple, Facebook, LinkedIn, and Instagram), shall, upon receiving notice of this Order,

18   reverse any action that they took in accordance with this Court’s order dated June 19, 2017 as it

19   relates to radaris.com or as it may have affected Movants. Without limiting the foregoing, such

20   parties may continue transferring or disposing of any money or other assets residing in accounts

21   connected to radaris.com or Movants, may allow funds to be transferred or withdrawn, and may

22   allow diminutions to be made by Movants from such accounts pending further order of this

23   Court.

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 1           3.       Movants, Movants’ officers, agents, servants, employees, and all other persons in

 2   active concert or participation with any of them, or third parties providing services used in

 3   connection with Movants’ operations who receive actual notice of this Order, including but not

 4   limited to domain name registrars, domain name registries, website hosts, internet search

 5   engines, and internet service providers, whether acting directly or indirectly, are immediately

 6   ordered to reverse any action that they took in accordance with this Court’s order dated June 19,

 7   2017 as it relates to radaris.com or as it may have affected Movants. Without limiting the

 8   foregoing, such parties may continue to host, use, link to, transfer, sell, facilitate access to,

 9   exercise control over, or otherwise own the domain name radaris.com (the “Subject Domain

10   Name”).

11           4.       All website hosting, website optimization, website service provider, or cloud

12   computing services (including but not limited to Amazon, Microsoft, Cisco, Google, Oracle,

13   Verizon, Rackspace, and Cogeco Peer 1), and any other entity or person that provides services to

14   or in connection with the Subject Domain Name may continue to provide all website services in

15   connection with the Subject Domain Name. All web service or cloud computing services

16   (including but not limited to Amazon, Microsoft, Cisco, Google, Oracle, Verizon, and

17   Rackspace) may continue housing and shall retain all databases underlying the Subject Domain

18   Name or used by the Subject Domain Name. Movants may continue to store, use, or collected

19   and make available data through the Subject Domain Name; Movants may continue to collect,

20   assemble, and display such data on the Subject Domain Name or elsewhere; Movants may

21   transfer such data to third parties.

22           5.       The domain name registrar for the Subject Domain Name (including but not

23   limited to Godaddy.com) shall transfer to Movants the domain name registration and certificate

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 1   for the Subject Domain Name and shall transfer exclusive control of the Subject Domain Name

 2   to Movants (including by moving the Subject Domain Name to the domain name registrar of

 3   Movants’ selection). To the extent that the registrars do not assist in changing the registration or

 4   registrar of record for the domains under their control within 1 business day of receipt of this

 5   Order, the top-level domain (TLD) registrars (or their administrators) for the Subject Domain

 6   Name within 5 business days of receipt of this Order shall change or assist in changing the

 7   registrar of record for the Subject Domain name to the registrar of Movants’ choosing. Movants

 8   may thereafter redirect the domain name to the website of this choosing. To the extent that the

 9   TLD registrars for the Subject Domain Name do not change the registrars or registrants of record

10   for the Subject Domain Name, the domain name registries shall transfer or assist in transferring

11   the Subject Domain Name to Movants’ counsel.

12          6.       All advertising service providers and other providers of Movants and for the

13   radaris.com website and domain name, including but not limited to Google, Inc. and Apple, Inc.,

14   may continue providing advertising for radaris.com and may continue distributing or offering for

15   sale applications used in connection with the radaris.com website.

16          IT IS SO ORDERED.

17   Dated: March ___, 2018                                ______________________________
                                                           VINCE CHHABRIA
18                                                         United States District Judge

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